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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                      :
                                              :
       v.                                     :
                                              :
THOMAS JOHN BALLARD                           :       Criminal No. 1:21-MJ-00539-RMM
                                              :
                                              :
                       Defendant.             :

                                     NOTICE OF FILING

       The United States of America, by and through its attorney, the Acting United States

Attorney for the District of Columbia, hereby files the attached transcript of the detention hearing

held in the Northern District of Texas on August 13, 2021 in support of its Motion to Review and

Appeal of Release Order (DE 6).

                                              Respectfully submitted,

                                              CHANNING D. PHILLIPS
                                              Acting United States Attorney
                                              DC Bar No. 415793


                                      By:     /s/ Robert Juman
                                              ROBERT JUMAN
                                              Assistant United States Attorney
                                              New Jersey Bar Number 032201993
                                              United States Attorney’s Office
                                              Detailee – Federal Major Crimes
                                              555 Fourth Street, N.W.
                                              Washington, D.C. 20530
                                              Telephone: (786) 514-9990
                                              Email: Robert.Juman@usdoj.gov




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                               CERTIFICATE OF SERVICE

       On this 17th day of August, 2021, a copy of the foregoing was served upon all parties

listed on the Electronic Case Filing (ECF) System.

                                              /s/ Robert Juman
                                              ROBERT JUMAN
                                              Assistant United States Attorney
                                              New Jersey Bar Number 032201993
                                              United States Attorney’s Office
                                              Detailee – Federal Major Crimes
                                              555 Fourth Street, N.W.
                                              Washington, D.C. 20530
                                              Telephone: (786) 514-9990
                                              Email: Robert.Juman@usdoj.gov




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